                                                                           FILED
                                                                       Aug 26 2024, 8:42 am

                                                                           CLERK
                                                                       Indiana Supreme Court
                                                                          Court of Appeals
                                                                            and Tax Court




                                            IN THE

            Court of Appeals of Indiana
                                       Michael T. Schoeff,
                                        Appellant-Defendant

                                                    v.

                                         State of Indiana,
                                           Appellee-Plaintiff


                                           August 26, 2024
                                    Court of Appeals Case No.
                                         23A-CR-02163
                            Appeal from the Delaware Circuit Court
                              The Honorable John M. Feick, Judge
                                       Trial Court Cause No.
                                       18C04-2011-F1-000014


                              Opinion by Judge Mathias
                       Judge Tavitas concurs with separate opinion




Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024              Page 1 of 47
             Judge Weissmann concurs in part and dissents in part, with separate
                                        opinion



      Mathias, Judge.


[1]   The Delaware Circuit Court entered a judgment of conviction against Michael

      Schoeff for Level 1 felony aiding, inducing, or causing dealing in a controlled

      substance resulting in death and adjudicated Schoeff a habitual offender.

      Schoeff appeals, raising two issues, which we restate as:

              I. Whether the trial court erred under the Indiana Constitution and
              Indiana Code section 35-41-4-3(a) when it allowed the State to
              retry Schoeff for Level 1 felony aiding, inducing, or causing
              dealing in a controlled substance resulting in death after the jury in
              his first trial could not reach a verdict on that charge but did find
              him guilty of Level 5 felony conspiracy to commit dealing; and,

              II. Whether the State presented sufficient evidence to prove that
              Schoeff committed Level 1 felony aiding, inducing, or causing
              dealing in a controlled substance resulting in death.

      We affirm.


      Facts and Procedural History

[2]   In October 2020, Schoeff was romantically involved with Vera Morgan, and

      Schoeff lived in Muncie. On or about October 10, Matthew Stockton and

      Mandy Hart, who were also romantically involved and had a child together,

      arranged to purchase heroin from Morgan. Stockton and Hart traveled to

      Schoeff’s home, and, when they arrived, Schoeff weighed the heroin. Schoeff


      Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024        Page 2 of 47
      then gave the heroin to Morgan, who sold it to Hart. Stockton and Hart injected

      the heroin while they were still at Schoeff’s home. Hart overdosed but was

      revived with Suboxone that Schoeff gave to Stockton. Morgan then asked Hart

      and Stockton to leave, which they did.

[3]   Hart and Stockton returned to Muncie on October 16. When they arrived, Hart

      contacted Morgan and arranged to buy more heroin from her. The two agreed

      to meet at a gas station located at the intersection of Port and Hoyt roads. Hart

      and Stockton arrived at the gas station first. They saw Schoeff and Morgan pull

      into the gas station, and Schoeff was driving the vehicle. Schoeff exited the

      vehicle and entered the gas station storefront. Hart and Stockton then entered

      Schoeff’s vehicle and sat in the back seat while Morgan remained in the front

      seat. Morgan gave Hart heroin in exchange for $40. After Schoeff exited the gas

      station, he and Morgan offered Hart and Stockton a ride home.

[4]   At Stockton’s home, Hart injected Stockton with heroin and then injected

      herself. Hart then passed out and stopped breathing. Stockton performed chest

      compressions, and after several minutes, Hart began breathing again but she

      remained unconscious. Stockton then injected himself again. Sometime later,

      Hart woke up, and she and Stockton agreed to split the remaining heroin. Hart

      injected Stockton, and he passed out. When he regained consciousness, Hart

      was lying face down on the floor. Stockton soon discovered that Hart had died.

      Hart underwent an autopsy, and the forensic pathologist determined that her

      cause of death was a fentanyl overdose.



      Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024     Page 3 of 47
[5]   During the investigation of Hart’s death, Stockton told law enforcement officers

      that he and Hart had purchased the heroin from Morgan and Schoeff. Stockton

      also gave the officers the passcode to Hart’s cellphone. Law enforcement

      officers found text messages between Hart and Morgan detailing transactions

      between them for the purchase of heroin and syringes.


[6]   Schoeff and Morgan were arrested on November 3. Schoeff admitted to the

      officers that he had used and participated in dealing illegal drugs. However, he

      denied selling drugs to Hart and Stockton on October 16. He admitted that he

      saw them at the gas station that day and gave them a ride home. Later, Schoeff

      confessed that he had sold drugs to Stockton and Hart on October 10. And

      Morgan’s and Schoeff’s cell phones contained numerous messages discussing

      drugs and drug dealing, including selling heroin and fentanyl.


[7]   The State charged Schoeff with Level 1 felony aiding, inducing, or causing

      dealing in a controlled substance resulting in death and Level 5 felony

      conspiracy to commit dealing in a narcotic drug. Those charges provided in

      relevant part:


              Count 1

              [B]etween October 16, 2020 and October 17, 2020 . . . Schoeff did
              knowingly aid, induce or cause another person or persons, to-wit:
              Vera Morgan to commit the crime of Dealing in a Controlled
              Substance Resulting in Death, which is defined as knowingly
              delivering a controlled substance in violation of IC 35-48-4-1, and
              the controlled substance when it was used, injected, inhaled,
              absorbed or ingested resulted in the death of Mandy Hart . . . .

              Count 2

      Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024      Page 4 of 47
               [B]etween October 16, 2020 and October 17, 2020 . . . Schoeff
               with the intent to commit the felony of dealing in a narcotic drug,
               did agree with another person or persons, to-wit: Vera Morgan
               and/or other unnamed person or persons to commit said crime of
               dealing in a narcotic drug; and in furtherance of said agreement,
               Michael Schoeff or the person or persons with whom he agreed
               did commit one or more of the following overt acts: 1) obtained a
               substance purported to be heron or fentanyl; 2) communicated
               with Mandy Hart; 3) arranged the sale of heroin and/or fentanyl;
               4) provided heroin and/or fentanyl to Mandy Hart . . . .

      Appellant’s App. Vol. 2, pp. 163-64. The State also alleged that Schoeff was a

      habitual offender.

[8]   Schoeff’s first jury trial commenced on August 22, 2022. During its closing

      arguments, the State argued that it had proven that Schoeff had aided Morgan

      to commit dealing in a controlled substance causing death because Stockton

      testified that he and Hart arranged to meet Schoeff and Morgan to purchase

      heroin as they had done the weekend prior to October 16. Tr. Vol. 4, p. 14. The

      State argued that the evidence established that Schoeff and Morgan had used

      the same gas station as a meeting point to sell drugs in the past. Id. at 15. And

      the State relied on Stockton’s testimony that Schoeff drove Morgan to the gas

      station, and Morgan sold heroin to Hart while they were seated in Schoeff’s

      vehicle at the gas station. 1 Id. To prove Count II, the State relied on Schoeff’s

      confession that he was involved in drug dealing with Morgan and messages

      between their cellphones detailing the drug dealing operation. Id. at 9. The jury



      1
       The jury was instructed that “[t]o aid under the law is to knowingly aid, support, help or assist in the
      commission of a crime. It is knowingly doing some act to render aid to the actual perpetrator of the crime.”
      Appellant’s App. Vol. 2, p. 246. The jury was also given an “accomplice” instruction. Id. at 247.

      Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024                             Page 5 of 47
       instructions defining the charged offenses were nearly identical to the charges

       quoted above. See Appellant’s App. Vol. 2, pp. 210, 219, 240.


[9]    The jury found Schoeff guilty of the conspiracy charge, Count II, but could not

       reach a verdict on Count I, dealing causing death. The trial court entered a

       judgment of conviction on Count II, and on March 29, 2023, the court imposed

       a five-year sentence in the Department of Correction.

[10]   Thereafter, Schoeff moved to dismiss Count I, arguing that retrial on that

       charge would violate his double jeopardy rights. The trial court denied Schoeff’s

       motion, and a second jury trial on Count I commenced on April 24. The jury

       found Schoeff guilty on that Count. The jury also found that Schoeff was a

       habitual offender.

[11]   The trial court held Schoeff’s sentencing hearing on August 16. The court

       vacated Schoeff’s conviction for Count II due to double jeopardy concerns. 2

       The trial court then imposed a thirty-two-year sentence for Count I, which the

       court enhanced by twelve years for the habitual offender adjudication, for an

       aggregate executed sentence of forty-four years.


[12]   Schoeff now appeals.




       2
           The State did not agree with the trial court’s decision to vacate the Level 5 felony conspiracy conviction.

       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024                                  Page 6 of 47
       Double Jeopardy

[13]   Schoeff claims that the second prosecution for Level 1 felony aiding, inducing,

       or causing dealing in a controlled substance resulting in death violated his

       procedural double jeopardy rights. Specifically, he argues that his Level 5 felony

       conspiracy to commit dealing conviction was a lesser-included offense of his

       Level 1 felony conviction; therefore, the second prosecution of the Level 1

       felony dealing resulting in death charge was barred by Indiana Code section 35-

       41-4-3(a) and the Article 1, Section 14 of the Indiana Constitution. Schoeff does

       not argue that his retrial for the Level 1 felony offense was barred based only on

       the hung jury for that allegation.


[14]   The Indiana Constitution forbids the State from placing a person twice in

       jeopardy. 3 Ind. Const. Art. 1, § 14. In implementing this principle, Indiana

       Code section 35-41-4-3(a) provides in pertinent part:


               (a) A prosecution is barred if there was a former prosecution of the
               defendant based on the same facts and for commission of the same
               offense and if:

               (1) the former prosecution resulted in an acquittal or a conviction
               of the defendant (A conviction of an included offense constitutes an
               acquittal of the greater offense, even if the conviction is subsequently set
               aside.) . . . .




       3
         Schoeff cites to the Fifth Amendment prohibition against double jeopardy in his Appellant’s brief.
       However, he does not develop any argument under the Fifth Amendment, and, therefore, he has waived any
       double jeopardy claim under the United States Constitution. See Denney v. State, 219 N.E.3d 784, 789 n.3
       (Ind. Ct. App. 2023) (citing Ind. Appellate Rule 46(A)(8)(a)).

       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024                         Page 7 of 47
       (Emphases added.) After his first trial, the trial court entered a judgment of

       conviction against Schoeff for the offense of conspiracy.

[15]   Accordingly, to demonstrate that a successive trial is prohibited under that

       statute, Schoeff argues that the State sought to use the same evidence twice

       against him for the commission of the same offense—namely, for the purported

       included offense of conspiracy to commit dealing. In turn, Shoeff asserts that

       his conviction for that offense acted as an implied acquittal of the aiding,

       inducing, or causing dealing in a controlled substance resulting in death

       conviction. See, e.g., Cleary v. State, 23 N.E.3d 664, 668 (Ind. 2015) (observing

       that Indiana Code section 35-41-4-3(a) “incorporates an ‘implied acquittal’

       principle”).

[16]   An offense may be inherently or factually included in another offense. We

       therefore first recognize that our case law establishes that Level 5 felony

       conspiracy to commit dealing charge is not an inherently included offense of

       Level 1 felony aiding, inducing, or causing dealing in a controlled substance

       resulting in death. Indiana Code section 35-31.5-2-168 defines an “included

       offense” as follows:

              “Included offense” means an offense that:

                        (1) is established by proof of the same material elements or less
                        than all the material elements required to establish the commission
                        of the offense charged;

                        (2) consists of an attempt to commit the offense charged or an
                        offense otherwise included therein; or



       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024       Page 8 of 47
                        (3) differs from the offense charged only in the respect that a less
                        serious harm or risk of harm to the same person, property, or
                        public interest, or a lesser kind of culpability, is required to
                        establish its commission.

[17]   “Indiana treats the offense of conspiracy to commit an offense as a separate

       crime from the underlying offense because the ‘agreement itself constitutes the

       criminal act.’” Littlefield v. State, 215 N.E.3d 1081, 1088 (Ind. Ct. App. 2023)

       (quoting Coleman v. State, 952 N.E.2d 377, 382 (Ind. Ct. App. 2011)); see also

       Ind. Code § 35-41-5-2(b) (providing that the State “must allege and prove that

       either the person or the person with whom he or she agreed performed an overt

       act in furtherance of the agreement”). As the conspiracy and its underlying

       crime are based on different statutory elements, conspiracy is not inherently

       included in the underlying crime.

[18]   More specifically, conspiracy to deal and accomplice dealing contain distinct

       statutory elements: the conspiracy count required an agreement and an overt

       act in furtherance of that agreement, and the accomplice dealing count required

       the State to prove that Schoeff aided, induced, or caused dealing in a controlled

       substance that resulted in Hart’s death. Appellant’s App. pp. 163-64.

       Accordingly, we disagree with Schoeff’s claim that his Level 5 felony

       conspiracy to commit dealing conviction was procedurally a lesser-included

       offense to the charge of Level 1 felony aiding, inducing, or causing dealing in a

       controlled substance resulting in death. Again, Indiana Code section 35-41-4-

       3(a) bars a second prosecution when there has been an acquittal or a conviction

       for a lesser-included offense. See Clearly, 23 N.E.3d at 670. For these reasons,

       section 35-41-4-3(a) did not bar a second prosecution for Schoeff’s Level 1
       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024          Page 9 of 47
       felony aiding, inducing, or causing dealing in a controlled substance resulting in

       death charge.

[19]   Next, Schoeff urges us to apply the Richardson actual-evidence test and conclude

       that his conviction for Level 5 conspiracy is factually included in the Level 1

       felony allegation. But before we address Schoeff’s argument that application of

       the actual-evidence test formulated in Richardson v. State establishes a procedural

       double jeopardy violation, we observe that the continued viability of that test is

       uncertain. In Wadle v. State, our supreme court overruled the double jeopardy

       tests “formulated in Richardson as they apply to claims of substantive double

       jeopardy.” 151 N.E.3d 227, 244 (Ind. 2020). However, in a footnote, the court

       observed that the Richardson actual-evidence test “applies to the bar against

       procedural double jeopardy.”4 Id. at 244 n. 15. The court then stated that,

       “[b]ecause Wadle’s case presents no question of procedural double jeopardy,

       we expressly reserve any conclusion on whether to overrule Richardson in that

       context.” Id.



       4
         Our supreme court first utilized the Richardson test to address a claim of procedural double jeopardy in
       Garrett v. State, 992 N.E.2d 710 (Ind. 2013). However, Richardson was a substantive double jeopardy case, and
       therefore, the entire premise that Richardson’s actual-evidence test applies in the procedural double jeopardy
       context rests on shaky foundations. In Cleary, decided approximately sixteen months after Garrett, our
       supreme court declined to apply the Richardson actual-evidence test to a procedural double jeopardy claim.
       See Cleary, 23 N.E.3d at 673. In that case, the jury returned a guilty verdict on the lesser offenses and
       deadlocked on the greater offenses. The trial court did not enter a judgment of conviction on the lesser
       offenses, and therefore, our supreme court held that under the doctrine of continuing jeopardy, the defendant
       was not placed in jeopardy twice for the same offense. Id. at 673-74.

       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024                            Page 10 of 47
[20]   In Wadle, our supreme court thoroughly explained the confusion caused by

       application of Richardson. 151 N.E.3d at 241-43. And earlier this year, the Court

       doubled-down on Wadle in A.W., 229 N.E.3d at 1068, and expressly rejected

       formulations of the Wadle test that effectively “revived” Richardson’s actual-

       evidence test. As for procedural double jeopardy, the Wadle Court held that

       Article 1, Section 14 of the Indiana Constitution “operates only as a procedural

       bar to successive prosecutions for the same offense.” 151 N.E.3d at 237.

[21]   Until our supreme court concludes otherwise, we must continue to apply the

       Richardson actual-evidence test to claims of procedural double jeopardy.

       Morever, regardless of the precise test used to discern if the “same facts” were

       twice used against Schoeff, our conclusion here is the same: they were not. See

       I.C. § 35-31.5-2-168.

[22]   To find a double jeopardy violation under the Richardson actual-evidence test,

       “a defendant must demonstrate a reasonable possibility that the evidentiary

       facts used by the fact-finder to establish the essential elements of one offense

       may also have been used to establish the essential elements of a second

       challenged offense.” 717 N.E.2d 32, 53 (Ind. 1999); see also Lee v. State, 892

       N.E.2d 1231, 1236 (Ind. 2008) (explaining that the existence of a “‘reasonable

       possibility’ turns on a practical assessment of whether the jury may have latched

       on to exactly the same facts for both convictions”). “The actual evidence test is

       applied to all the elements of both offenses.” Garrett v. State, 992 N.E.2d 710,

       719 (Ind. 2013). If the “evidentiary facts establishing the essential elements of

       one offense also establish only one or even several, but not all, of the essential
       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024      Page 11 of 47
       elements of a second offense,” there is no double jeopardy violation. Id. (citing

       Spivey v. State, 761 N.E.2d 831, 833 (Ind. 2002)).


[23]   Here, both offenses required proof of dealing a controlled substance. But the

       Level 5 felony conspiracy charge required proof of an agreement between

       Schoeff and Morgan. During Schoeff’s first trial, the State used Schoeff’s

       admission that he and Morgan were dealing heroin and text messages between

       them to establish the agreement required for the conspiracy. The State also

       argued that it had proved the Level 1 felony aiding, inducing, or causing

       dealing resulting in death charge because Schoeff aided Morgan by driving her

       to the gas station to meet Hart to complete the dealing transaction, and Hart

       died as a result of ingesting the controlled substance Morgan gave to her. But

       the jury deadlocked on the Level 1 felony charge.


[24]   In the retrial, the State used this same evidence to prove that Schoeff committed

       the distinct crime of aiding, inducing, or causing dealing resulting in death. We

       conclude that there is no reasonable possibility that the evidentiary facts used to

       establish the Level 5 felony conspiracy charge were also used to establish all of

       the essential elements for the Level 1 felony aiding, inducing, or causing dealing

       resulting in death charge during either of Schoeff’s trials.

[25]   Clearly, Schoeff’s guilty verdict and conviction in the first trial for conspiracy to

       commit dealing was not an “implied acquittal” of the Level 1 felony aiding,

       inducing, or causing dealing resulting in death charge. An implied acquittal

       occurs when the “jury convicts the defendant of a lesser-included offense


       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024      Page 12 of 47
       without commenting on the greater-offense.” Cleary, 23 N.E.3d at 671 (citing Kocielko

       v. State, 938 N.E.2d 243, 249 (Ind. Ct. App. 2010)) (emphasis in original). Here,

       the jury was deadlocked on the Level 1 felony charge.


[26]   For all of these reasons, Schoeff’s conviction for conspiracy to commit dealing

       was not included in the State’s allegation that he had committed Level 1 felony

       aiding, inducing, or causing dealing resulting in death. Therefore, retrial on the

       Level 1 felony charge did not violate his procedural double jeopardy rights. 5


       Sufficient Evidence

[27]   Schoeff also claims that his Level 1 felony conviction is not supported by

       sufficient evidence. For sufficiency of the evidence challenges, we consider only

       probative evidence and reasonable inferences that support the judgment of the

       trier of fact. Hall v. State, 177 N.E.3d 1183, 1191 (Ind. 2021). We will neither

       reweigh the evidence nor judge witness credibility. Id. We will affirm a

       conviction unless no reasonable fact-finder could find the elements of the crime

       proven beyond a reasonable doubt. Id.

[28]   To prove that Schoeff committed Level 1 felony aiding, inducing, or causing

       dealing in a controlled substance resulting in death, the State was required to




       5
         Although not raised by Schoeff in his Appellant’s brief, we also observe that under the doctrine of
       continuing jeopardy, retrial following a “hung jury” does not violate a defendant’s double jeopardy rights.
       Cleary, 23 N.E.3d at 673 (citing Griffin v. State, 717 N.E.2d 73, 78-79 (Ind. 1999)). The doctrine of continuing
       jeopardy provides that “a defendant who is retried following a hung jury is not placed in jeopardy twice for
       the same offense, because the initial jeopardy that attaches to a charge is simply suspended by the jury’s
       failure to reach a verdict.” Id. (quoting Davenport v. State, 734 N.E.2d 622, 625 (Ind. Ct. App. 2000)).

       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024                               Page 13 of 47
       show (1) Schoeff knowingly or intentionally aided, induced, or caused Morgan

       to deliver a controlled substance to Hart; (2) Hart used, injected, inhaled,

       absorbed, or ingested the controlled substance; (3) resulting in Hart’s death. See

       I.C. §§ 35-42-1-1.5(a) &amp; 35-41-2-4; Appellant’s App. p. 163. Schoeff argues that

       the evidence is insufficient to support his conviction because he was not in the

       vehicle when Morgan gave Hart heroin in exchange for $40. Further, he claims

       there was no evidence that he “had any involvement in the sale or dealing of

       the drug . . . .” Appellant’s Br. at 12.

[29]   Contrary to Schoeff’s claims, the State presented sufficient evidence to establish

       that he and Morgan were both involved in dealing heroin to Hart and Stockton.

       Stockton testified that he and Hart had purchased heroin from Schoeff and

       Morgan a week before the dealing transaction charged in this case. Stockton

       saw Schoeff weigh the heroin and give it to Morgan before she completed the

       transaction with Hart. On October 16, Morgan and Hart arranged to meet so

       that Hart could purchase heroin. Schoeff drove Morgan to the gas station to

       meet with Hart and Stockton. Schoeff exited the vehicle and went into the

       storefront but did not make any purchases while he was at the gas station. From

       this evidence, it was reasonable for the jury to conclude that the only reason

       Schoeff and Morgan were present at the gas station was to sell heroin to Hart




       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024     Page 14 of 47
       and Stockton. Morgan completed the drug transaction with Hart, and Schoeff

       returned to the vehicle and drove Hart and Stockton back to Stockton’s home. 6

[30]   As he did at trial, Schoeff is attempting to cast doubt on the credibility of

       Stockton’s testimony describing what occurred on October 16. But his

       arguments are merely a request for our court to reweigh the evidence and the

       credibility of the witnesses, which we will not do. For all of these reasons, we

       conclude that the State presented sufficient evidence to prove that Schoeff

       committed Level 1 felony aiding, inducing, or causing dealing in a controlled

       substance resulting in death.7


       Conclusion

[31]   Schoeff’s right to be free from double jeopardy was not violated when the State

       was allowed to retry him for Level 1 felony aiding, inducing, or causing dealing

       in a controlled substance resulting in death after the jury was unable to reach a

       verdict on that charge in his first trial. In addition, the State presented sufficient

       evidence to prove that he committed the offense. We therefore affirm his Level

       1 felony conviction.




       6
        Schoeff does not challenge the sufficiency of the evidence proving that Morgan sold the fentanyl to Hart,
       which Hart ingested, causing her death.


       7
        Because the trial court vacated Schoeff’s Level 5 felony conspiracy to commit dealing conviction, we do not
       address his claim that the evidence was also insufficient to support that conviction.

       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024                            Page 15 of 47
[32]   Affirmed.


       Tavitas, J., concurs with separate opinion.
       Weissmann, J., concurs in part and dissents in part, with separate opinion.


       ATTORNEY FOR APPELLANT
       Antonio G. Sisson
       Muncie, Indiana


       ATTORNEYS FOR APPELLEE
       Theodore E. Rokita
       Attorney General of Indiana
       Sierra A. Murray
       Deputy Attorney General
       Indianapolis, Indiana




       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024   Page 16 of 47
       Tavitas, Judge, concurring.


[33]   Since 1851, the Indiana Constitution has provided, in relevant part: “No person

       shall be put in jeopardy twice for the same offense.” IND. CONST., art. 1, § 14;

       Richardson v. State, 717 N.E.2d 32, 38 (Ind. 1999). Double jeopardy analysis

       under the Indiana Constitution today, however, is in a state of flux.

       “Historically, the prohibition against double jeopardy applied as a procedural

       bar to a subsequent prosecution for the same offense, whether after acquittal or

       conviction. Over time, the protection evolved beyond the procedural context to

       embody a substantive bar to multiple convictions or punishments for the same

       offense in a single trial.” Wadle v. State, 151 N.E.3d 227, 235 (Ind. 2020)

       (emphasis added). Richardson previously governed both procedural and

       substantive double jeopardy under the Indiana Constitution. In Wadle, our

       Supreme Court made significant changes to our substantive double jeopardy

       analysis and held that Richardson no longer governs the substantive double

       jeopardy analysis. The Court, however, left reconsideration of our analysis in

       the procedural double jeopardy context for another day.

[34]   Here, Schoeff raises arguments under the Successive Prosecution Statute,

       Indiana Code Section 35-41-4-3, and Article 1, Section 14 of the Indiana

       Constitution to challenge his retrial for aiding, inducing, or causing dealing in a

       controlled substance resulting in death after he was previously convicted of




       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024     Page 17 of 47
       conspiracy to commit dealing in a narcotic drug in the first trial. 8 The issue,

       thus, is one of procedural double jeopardy. I concur with Judge Mathias that

       Schoeff’s second trial was barred by neither the Successive Prosecution Statute

       nor the Indiana Constitution under Richardson. I write separately, however, for

       two reasons: (1) because I disagree with the dissent’s analysis of our Successive

       Prosecution Statute; and (2) to emphasize that the constitutional procedural

       double jeopardy analysis under Richardson is unworkable.


       I. Successive Prosecution Statute

[35]   Schoeff argues that his second trial was barred under the Successive Prosecution

       Statute because the conspiracy offense “is essentially a lesser” included offense

       of the aiding offense for which Schoeff was convicted in the first trial.

       Appellant’s Br. p. 10. The Successive Prosecution Statute provides, in relevant

       part:


                 (a) A prosecution is barred if there was a former prosecution of the
                 defendant based on the same facts and for commission of the same
                 offense and if:

                           (1) the former prosecution resulted in an acquittal or a
                           conviction of the defendant (A conviction of an included
                           offense constitutes an acquittal of the greater offense, even
                           if the conviction is subsequently set aside.).


       (Emphasis added).




       8
           I agree with my colleagues that Schoeff’s federal double jeopardy argument is waived.

       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024                        Page 18 of 47
[36]   I agree with Judge Mathias that Schoeff’s second trial was not barred by our

       Successive Prosecution Statute because the conspiracy offense and the aiding

       offense here require proof of distinct statutory elements and, therefore, are not

       “included” offenses. Judge Mathias is correct that, in analyzing “included

       offense” under subsection (a)(1) of the Successive Prosecution Statute, we

       should refer to the Included Offense Statute, Indiana Code Section 35-31.5-2-

       168, not the Richardson actual-evidence test.


[37]   I respectfully disagree with the dissent’s analysis, which appears to conclude

       that a “same offense” under the Richardson actual-evidence test is an “included”

       offense under the statutes, and that the second prosecution here is, therefore,

       barred both by the Successive Prosecution Statute and Article 1, Section 14. I

       conclude that the proper analysis is to first determine whether the offenses are

       barred under the Successive Prosecution Statute. In interpreting “included

       offense” under this statute, we look to the Included Offense Statute, not

       Richardson. Second, only if the second trial is not barred by the Successive

       Prosecution Statute, we determine whether the second trial is barred under

       Article 1, Section 14 of the Indiana Constitution, and this inquiry is currently

       governed by Richardson.


[38]   I reach this analysis for two reasons. First, analyzing the statutes before

       analyzing Article 1, Section 14 is consistent with the “familiar canon of

       statutory interpretation that statutes should be interpreted so as to avoid

       constitutional issues.” Ind. Right to Life Victory Fund v. Morales, 217 N.E.3d 517,

       522 (Ind. 2023). Under this canon of statutory interpretation, we determine

       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024     Page 19 of 47
       whether the two offenses are “included” under the Successive Prosecution

       Statute before we decide the constitutional issue here.

[39]   Second, analyzing the concept of “included offense” without reference to the

       Richardson actual-evidence test is more faithful to the text of the statutes. The

       dissent uses the actual evidence introduced at trial to determine that the two

       offenses are “included.” The Included Offense Statute, however, defines an

       included offense, in part, as one that is “established by proof of the same

       material elements or less than all the material elements required to establish the

       commission of the offense charged.” Ind. Code § 35-31.5-2-168(1). The

       Included Offense Statute’s use of “elements” refers to the statutory elements of

       the charged offenses, not the evidence introduced at trial to prove those

       elements. Indeed, in analyzing the Included Offense Statute under Wadle in

       substantive double jeopardy cases, we compare the statutory elements without

       reference to the evidence introduced at trial. See Wadle, 151 N.E.3d at 253.


[40]   Our Supreme Court recently noted in A.W. v. State, 229 N.E.3d 1060, 1068

       (Ind. 2024), that “[i]nconsistency breeds confusion, and confusion imperils the

       rule of law.” Here, it would be inconsistent to analyze the Included Offense

       Statute differently in substantive double jeopardy cases under Wadle and in

       procedural double jeopardy cases under Richardson. For these reasons, I

       disagree with the dissent’s statutory procedural double jeopardy analysis.




       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024     Page 20 of 47
       II. Procedural Double Jeopardy under the Indiana Constitution

[41]   As a matter of procedural double jeopardy under the Indiana Constitution,

       although Richardson remains the governing test, Richardson’s actual-evidence test

       is unworkable. Prior to Richardson, our courts “did not separately evaluate the

       Indiana Constitution as an additional, independent source of double jeopardy

       protection. Instead, we generally addressed double jeopardy claims by applying

       the prevailing understanding of federal jurisprudence and merely referred to the

       Indiana Double Jeopardy Clause.” Richardson, 717 N.E.2d at 49.


[42]   The Court in Richardson, however, sought to breathe new life into the Indiana

       Constitution as an independent source of double jeopardy protections apart

       from its federal counterpart. Id. Richardson, thus, announced the following test

       to govern double jeopardy under the Indiana Constitution: “two or more

       offenses are the ‘same offense’ in violation of Article I, Section 14 of the

       Indiana Constitution, if, with respect to either the statutory elements of the

       challenged crimes or the actual evidence used to convict, the essential elements

       of one challenged offense also establish the essential elements of another

       challenged offense.” 9 Id.


[43]   Richardson, however, was a somewhat fragmented decision. Justices Shepard

       and Sullivan concurred, but Justice Sullivan expressed concerns about the

       breadth of Richardson’s application. Id. at 55 (Sullivan, J., concurring). Justices




       9
           Only the “actual evidence” portion of the Richardson test is implicated in the case before us.

       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024                                 Page 21 of 47
       Selby and Boehm each concurred in the result with separate opinions. Notably,

       Justice Selby believed that the majority’s test lost sight of a “straightforward

       idea—a person cannot be tried twice for the same crime.” Id. at 57 (Selby, J.,

       concurring in result).

[44]   Richardson’s troubles did not end there. Discussing Richardson over several

       pages in Wadle, 151 N.E.3d at 241, our Supreme Court noted that, despite

       Richardson’s “lofty goal, subsequent application of the rule quickly proved

       untenable, ultimately forcing the Court to retreat from its all-inclusive analytical

       framework.” Richardson’s two-part test, which involved comparing the

       statutory elements and the actual evidence presented at trial, “generated more

       confusion than clarity, causing some courts to conflate the separate tests.” Id.

       Apart from this, “selective[]” application of one test over the other produced

       “inconsistent results.” Id.


[45]   Amidst these complications in applying Richardson, our Supreme Court

       attempted to clarify ambiguities in the actual-evidence test, but this only created

       new problems in applying that test. Id. at 242-43. The newly formulated

       actual-evidence test rendered the test “vulnerable to arbitrary application.” Id.

       at 243. The Court increasingly distanced itself from the actual-evidence test

       and “turned to the rules of statutory construction and common law announced

       by Justices Sullivan and Boehm in their respective Richardson concurrences,”

       but this in turn generated new “confusion among the bench and bar over the

       proper standard to address claims of double jeopardy.” Id. Richardson, thus,

       resulted in what Wadle described as:
       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024      Page 22 of 47
              a patchwork of conflicting precedent, a jurisprudence of “double
              jeopardy double talk” that underscores Richardson’s inherent
              flaws. See Akhil Reed Amar, DOUBLE JEOPARDY LAW MADE
              SIMPLE, 106 Yale L.J. 1807, 1807 (1997). The shifting standards
              and inconsistent application of controlling tests create an
              unpredictable approach to double jeopardy, ultimately depriving
              our courts of clear guidance and preventing the Indiana bar—
              defense counsel and prosecutors alike—from effectively preparing
              their cases and representing their clients.

       Id. at 244.


[46]   In light of these difficulties, our Supreme Court in Wadle made significant

       changes to our double jeopardy jurisprudence. Wadle “expressly” overruled

       Richardson in the context of substantive double jeopardy claims and announced

       a new analytical framework based on statutory interpretation. Id. The Court

       further held that Article 1, Section 14 of the Indiana Constitution “operates

       only as a procedural bar to successive prosecutions for the same offense.”

       Wadle, 151 N.E.3d at 237. After Wadle, substantive double jeopardy is no

       longer rooted in the Indiana Constitution or governed by Richardson. The

       Indiana Constitution governs only procedural double jeopardy.

[47]   It is true, as my colleagues acknowledge, that Wadle “expressly reserve[d] any

       conclusion on whether to overrule Richardson” as the governing test for

       procedural double jeopardy under the Indiana Constitution. Wadle, 151 N.E.3d

       at 244 n.15. Richardson, thus, has not formally been overruled as the governing

       test for procedural double jeopardy claims under the Indiana Constitution.

[48]   The confusion and disagreement espoused by Richardson’s actual-evidence test,

       however, exist just as profoundly in the procedural double jeopardy context as

       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024   Page 23 of 47
       it did in the substantive double jeopardy context. Compare Garrett v. State, 992

       N.E.2d 710 (Ind. 2013) (applying the actual-evidence test in a procedural

       double jeopardy context), with Cleary v. State, 23 N.E.3d 664 (Ind. 2015)

       (declining to apply the actual-evidence test in a procedural double jeopardy

       context). This panel’s split decision is evidence thereof.

[49]   Moreover, the entire premise that Richardson’s actual-evidence test applies in the

       procedural double jeopardy context raises questions. Richardson, of course, was

       a substantive double jeopardy case. Our Supreme Court did not apply the

       actual-evidence test to a procedural double jeopardy case until it decided

       Garrett, 992 N.E.2d 710. But Garrett belies the difficulty in applying the actual-

       evidence test in typical procedural double jeopardy cases.

[50]   In Garrett, the defendant was charged with two rapes of the same woman in the

       same day. In the first trial, the jury found Garrett not guilty of one of the rape

       charges but was “unable to reach a verdict” on the other rape charge. Id. at

       716. At a second trial on the hung rape charge, the trial court found Garrett

       guilty. Id. at 717. After an unsuccessful appeal, Garrett sought post-conviction

       relief and argued that his trial and appellate counsel were ineffective for failing

       to raise a double jeopardy challenge to the second trial. Id. at 718. At the time,

       this Court had expressed uncertainty about the application of the Richardson

       actual-evidence test to procedural double jeopardy cases. See Buggs v. State, 844

       N.E.2d 195, 201-202 (Ind. Ct. App. 2006), trans. denied, declined to follow by

       Garrett, 992 N.E.2d 710.



       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024      Page 24 of 47
[51]   Our Supreme Court held in Garrett, however, that Richardson’s actual evidence

       test “is applicable to cases in which there has been an acquittal on one charge

       and retrial on another charge after a hung jury.” Garrett, 992 N.E.2d at 714.

       The Court further held that there was a “reasonable possibility that the

       evidentiary facts used by the jury in the first trial to establish the essential

       elements of Rape, for which Garrett was acquitted, may also have been used on

       retrial to establish all of the essential elements of Rape for which Garrett was

       convicted” in the second trial, which violated Article 1, Section 14 of the

       Indiana Constitution. 10 Id. at 723-25.


[52]   Because Garrett involved an appeal after the second trial had concluded, the

       Court had the benefit of comparing the evidence offered in each trial. But this

       masks obvious difficulties in applying Richardson’s actual-evidence test in the

       procedural double jeopardy context. To preserve the issue for appeal, a

       defendant must generally object to the second trial on double jeopardy grounds

       before that trial commences. See, e.g., Jester v. State, 551 N.E.2d 840, 842 (Ind.

       1990). But in ruling on such a motion, the trial court can only speculate as to

       whether the second trial risks a conviction based on the same “actual” evidence

       presented in the first trial. 11




       10
            The Court concluded, however, that Garrett’s counsel were not ineffective.
       11
          In the instant case, although Schoeff objected to the second trial on double jeopardy grounds before that
       trial commenced, he did not argue in his motion that the actual-evidence test applied. Rather, Schoeff argued
       in his motion that Wadle had “overrul[ed]” Richardson and that the Wadle test required dismissal of the aiding
       charge and vacatur of the second trial. Appellant’s App. Vol. III p. 98.

       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024                            Page 25 of 47
[53]   Trial courts, thus, are faced with a Hobson’s choice. They may either: (1) hold

       a second trial that, in retrospect, turns out to violate a defendant’s double

       jeopardy rights; or (2) decline to hold a second trial, presuming double

       jeopardy. The actual-evidence test essentially requires trial courts to peer into a

       crystal ball and speculate as to whether a second trial risks a procedural double

       jeopardy violation.

[54]   The actual-evidence test, thus, is as unworkable in the procedural double

       jeopardy context as it is in the substantive double jeopardy context. The test

       simply does not work in the trenches when procedural double jeopardy issues

       arise. Judges, prosecutors, and defendants deserve a test that is clearer, non-

       speculative, and lends itself to consistent application.




       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024      Page 26 of 47
       Weissmann, Judge, concurring in part and dissenting in part.


[55]   I respectfully dissent because I believe my colleagues are misapplying the

       actual-evidence test from Richardson v. State, 717 N.E.2d 32 (Ind. 1999). The

       analysis in Judge Mathias’s lead opinion resembles the Richardson statutory-

       elements test, which does not apply in procedural double jeopardy cases.

       Meanwhile, Judge Tavitas’s concurring opinion bypasses the Richardson actual-

       evidence test in favor of the “included offense” analysis from Indiana Code

       § 35-31.5-2-168 (Lesser Included Offense Statute), which is inadequate by itself

       to address the multi-tiered double jeopardy question presented here.

[56]   As our Supreme Court has aptly noted, the Richardson actual-evidence test fell

       into disfavor because courts inconsistently applied it, leading to disparate

       interpretations of “same offense” within the meaning of our constitution’s

       Double Jeopardy Clause. Wadle v. State, 151 N.E.3d 227, 240-44 (Ind. 2020);

       Ind. Const. art. 1, § 14 (“No person shall be put in jeopardy twice for the same

       offense.”). But in Schoeff’s situation, the actual-evidence test is up to the task.

[57]   While Schoeff was serving prison time for Level 5 felony conspiracy to commit

       dealing in a controlled substance (Conspiracy to Deal), the State tried him

       again. In the second trial, the State used the same key evidence from the first

       trial to prove Schoeff guilty of Level 1 felony aiding, inducing, or causing

       dealing in a controlled substance resulting in death (Accessory Dealing

       Resulting in Death). In other words, the State sought to convict him in the

       second trial of being an accessory to dealing the same drugs that formed the


       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024       Page 27 of 47
       basis of his conviction in the first trial. This was a procedural double jeopardy

       violation barred by the Indiana Constitution and the statutory prohibition

       against successive prosecutions for the same offense. See Ind. Const. art. 1, § 14;

       Ind. Code § 35-41-4-3.


       Discussion

       I. Procedural Double Jeopardy and the Actual-Evidence Test
[58]   Substantive double jeopardy refers to “claims concerning multiple convictions

       in a single prosecution, as opposed to ‘procedural double jeopardy’ claims,

       which [generally] concern convictions for the same offense in successive

       prosecutions.” Carranza v. State, 184 N.E.3d 712, 715 (Ind. Ct. App. 2023)

       (quoting Wadle, 151 N.E.3d at 248-49). “[B]oth strands of double jeopardy—

       substantive and procedural—share a ‘core policy’ of preventing the state ‘from

       prosecuting and punishing arbitrarily, without legitimate justification.” Wadle,

       151 N.E.3d at 246 (quoting Note, Twice in Jeopardy, 75 Yale L.J. 262, 267

       (1965)). But the similarities between substantive and procedural double

       jeopardy largely end there.

[59]   For instance, the implications of a procedural double jeopardy violation are

       necessarily broader and more burdensome than those associated with a

       substantive double jeopardy transgression. See id. (ruling that “the procedural

       bar to double jeopardy, ‘whether following acquittals or convictions,’ placates

       ‘concerns that extend beyond merely the possibility of an enhanced sentence’ or

       excessive punishment” (citations omitted)). For one, a procedural double


       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024     Page 28 of 47
       jeopardy violation contravenes Article 1, Section 14 whereas a substantive

       double jeopardy violation does not. See id.

[60]   And unlike substantive double jeopardy, procedural double jeopardy arises

       from multiple prosecutions, not a lone trial. As a result, a procedural double

       jeopardy violation usually involves greater State overreach and attendant

       burdens on the defendant. These burdens can include “a continuing state of

       anxiety and insecurity,” embarrassment, expense, and an increased risk of

       wrongful conviction upon retrial when faced with an entirely new jury. Id. at

       245 (quoting Green v. United States, 355 U.S. 184, 187 (1957)). After all,

       “[j]eopardy is the risk of trial and conviction, not punishment.” Garrett v. State,

       992 N.E.2d 710, 721 (Ind. 2013).

[61]   But despite the differences between substantive and procedural double jeopardy,

       Richardson managed to unite the two branches under a “single comprehensive

       rule” for more than two decades before Wadle. Spivey v. State, 761 N.E.2d 831,

       832 (Ind. 2002). Unhappy with courts’ disparate applications of Richardson that

       “created more confusion than clarity,” our Supreme Court carved out a new

       test for substantive double jeopardy in Wadle. 151 N.E.3d at 235, 238-244. The

       only portion of Richardson left intact by Wadle was the actual-evidence test, with

       its relevance limited to procedural double jeopardy questions. Id. at 244 n.15.


[62]   In reaching this landmark decision, the Court made clear that going forward,

       substantive double jeopardy analysis would concentrate on statutory

       interpretation. Id. at 235. Procedural double jeopardy analysis, however, would


       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024      Page 29 of 47
       remain focused on whether the State prosecuted the defendant twice for the

       “same offense.” Id. at 239-40. This “same offense” determination “calls for an

       analysis of the evidence as applied to, rather than as required by, each element

       of the statutory offense.” Id. at 239. In other words, the actual-evidence test

       “looks beyond the elements of a crime to determine whether two offenses are

       the ‘same.’” Id. at 240. Thus, the Wadle Court left intact a procedural double

       jeopardy test that is highly fact sensitive.

[63]   Richardson’s actual-evidence test, by focusing on the evidence (an inherently

       factual pursuit), offers value in the procedural double jeopardy context that the

       Wadle Court found lacking in substantive double jeopardy applications.

       Although courts applying the actual-evidence test have not always followed a

       singular path, our Supreme Court precedent provides the necessary throughline

       to resolve Schoeff’s procedural double jeopardy claim.


       A. Application of the Actual-Evidence Test After Richardson
[64]   Four years after handing down Richardson, our Supreme Court added that “the

       Indiana Double Jeopardy Clause is not violated when the evidentiary facts

       establishing the essential elements of one offense also establish only one or even

       several, but not all, of the essential elements of a second offense.” Spivey, 761

       N.E.2d at 833. Though Wadle interpreted this language as ruling that

       Richardson’s actual-evidence test requires a total evidentiary overlap between the

       essential elements of both offenses, most of our Supreme Court’s pre-Wadle

       decisions relying on Spivey—and even Spivey itself—reach results consistent


       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024      Page 30 of 47
       with a straightforward Richardson actual-evidence analysis. Wadle, 151 N.E.3d

       at 242-43; Spivey, 761 N.E.2d at 832-34.


[65]   Just after noting that no double jeopardy violation occurs when “the essential

       elements of one offense also establish only one or even several, but not all, of

       the essential elements of a second offense,” our Supreme Court in Spivey noted:


               Application of this principle has been articulated in different
               ways. Compare Richardson, 717 N.E.2d at 54 (“the defendant has
               demonstrated a reasonable possibility that the evidentiary facts
               used by the jury to establish the essential elements of robbery
               were also used to establish the essential elements of the class A
               misdemeanor battery”), with Chapman v. State, 719 N.E.2d 1232,
               1234 (Ind.1999) (“the same evidence used by the jury to establish
               the essential elements of murder was also included among the
               evidence establishing the essential elements of robbery as a Class
               A felony”).


       Spivey, 761 N.E.2d at 833.


[66]   By affirmatively citing Richardson and Chapman, which found a double jeopardy

       violation when the same evidence proved all the essential elements of one crime

       but only part of the essential elements of another, Spivey signaled that it was not

       changing Richardson’s actual-evidence test. In other words, treating Spivey’s

       “only one or even several, but not all” language as requiring a full evidentiary

       overlap before double jeopardy occurs appears inconsistent with the rest of




       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024     Page 31 of 47
       Spivey’s analysis. At no point does Spivey acknowledge its intent to revise

       Richardson’s actual-evidence test. 12


[67]   And after Spivey, the supposed requirement that a defendant prove a complete

       evidentiary overlap to show a double jeopardy violation did not create an

       analytical shift—at least not in our Supreme Court. To date, the Court has

       relied on Spivey in 18 double jeopardy cases. In only 3 of those did the Court

       suggest that Spivey required a complete evidentiary overlap. And none of those

       3 was otherwise inconsistent with Richardson:


            • Tyson v. State, 766 N.E.2d 715, 717 (Ind. 2002) (ruling that for separate
              drug transactions, “convictions for both dealing a narcotic drug and
              conspiracy to deal a narcotic drug violate the Indiana Double Jeopardy



       12
          Our Supreme Court has never indicated that Spivey overruled Richardson. To the contrary, the Court in
       Wadle specifically preserved Richardson’s actual-evidence test in a procedural double jeopardy context. Wadle,
       151 N.E.3d at 244 n.15. But if Spivey is construed as requiring full evidentiary overlap before a double
       jeopardy violation occurs, Spivey is entirely inconsistent with Richardson.
       This is so because the convictions on which Richardson based its double jeopardy finding—robbery and
       misdemeanor battery—did not involve a full evidentiary overlap. The essential elements of the robbery were
       the defendant’s knowing or intentional taking of property from the victim by using or threatening the use of
       force on the victim. Richardson, 717 N.E.2d at 51. The essential elements of the misdemeanor battery were
       the defendant’s knowing or intentional touching of the victim in a rude, insolent, or angry manner. Id. at 52.
       The evidence of the taking of property from the victim—a billfold—helped prove the essential elements of
       robbery but did not prove any of the essential elements of misdemeanor battery under the facts of Richardson.
       Id. at 54. Yet, Richardson found that because all the evidence used to prove the battery also helped prove the
       essential elements of the robbery, “the defendant has demonstrated a reasonable possibility that the
       evidentiary facts used by the jury to establish the essential elements of robbery were also used to establish the
       essential elements of the class A misdemeanor battery.” Id. at 54.
       Essentially, our Supreme Court in Richardson found a double jeopardy violation because the evidence that
       proved all the essential elements of one offense (battery) was encompassed within the broader evidence
       proving the essential elements of the other offense (robbery). Thus, Richardson cannot be interpreted as
       requiring that all the elements of robbery must have been proven with the same evidence as all the elements of
       misdemeanor battery. In fact, if that had been the test in Richardson, a different outcome would have been
       reached, given that the same evidence did not prove all the elements of both robbery and battery.



       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024                                Page 32 of 47
                Clause,” although the conspiracy counts required evidence of an
                agreement that the dealing counts did not).

            • Sloan v. State, 947 N.E.2d 917, 924-25 (Ind. 2011) (finding no double
              jeopardy violation arising from convictions for Class A and Class C
              felony child molesting where the evidence showed distinct acts of
              fondling and penetration).

            • Wadle v. State, 151 N.E.3d at 242-43, 243 n.14 (mentioning, but not
              applying, the essential-elements language from Spivey).


[68]   During the two decades bridging Tyson, Sloan, and Wadle, our Supreme Court

       did not again suggest that Spivey required a complete evidentiary overlap. In

       fact, the Court’s 15 other double jeopardy cases citing Spivey do not establish an

       actual-evidence test that is different from Richardson’s version. 13


[69]   For instance, in Lee v. State, 892 N.E.2d 1231, 1234 (Ind. 2008), our Supreme

       Court simply described Spivey as “explain[ing]” the Richardson actual-evidence

       test. In four other decisions, the Court stated that Spivey “clarified” Richardson.

       Layman v. State, 42 N.E.3d 972, 980 n.7 (Ind. 2015) (quoting Spivey, 761 N.E.2d

       at 833); Gross v. State, 769 N.E.2d 1136, 1138 (Ind. 2002); Davis v. State, 770

       N.E.2d 319, 323 (Ind. 2002); Bald v. State, 766 N.E.2d 1170, 1172 (Ind. 2002).




       13
          Layman v. State, 42 N.E.3d 972, 980 n.7 (Ind. 2015); Hines v. State, 30 N.E.3d 1216, 1221-22 (Ind. 2015);
       Garrett v. State, 992 N.E.2d 710, 719 (Ind. 2013); Sanjari v. State, 961 N.E.2d 1005, 1007 (Ind. 2012); Lee v.
       State, 892 N.E.2d 1231, 1234 (Ind. 2008); Bradley v. State, 867 N.E.2d 1282, 1285 (Ind. 2007); Miller v. State,
       790 N.E.2d 437, 439 (Ind. 2006); Robinson v. State, 775 N.E.2d 316, 320 (Ind. 2002); Carrico v. State, 775
       N.E.2d 312, 314 (Ind. 2002); Guyton v. State, 771 N.E.2d 1141, 1142 (Ind. 2002); Williams v. State, 771 N.E.2d
       70, 75 (Ind. 2002); Davis v. State, 770 N.E.2d 319, 323 (Ind. 2002); Gross v. State, 769 N.E.2d 1136, 1138-39
       (Ind. 2002); Henderson v. State, 769 N.E.2d 172, 177 (Ind. 2002); Bald v. State, 766 N.E.2d 1170, 1172 (Ind.
       2002).

       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024                             Page 33 of 47
[70]   At least two of the post-Spivey, pre-Wadle decisions relying on Spivey rested on

       the rule that some, but not full, evidentiary overlap is sufficient to establish

       double jeopardy. See, e.g., Hines v. State, 30 N.E.3d 1216, 1224-25 (Ind. 2015)

       (finding “a reasonable possibility that the same evidence used by the jury to

       establish the essential elements of battery was also included among the evidence

       used by the jury to establish the essential elements of criminal confinement”);

       Davis, 770 N.E.2d at 324 (finding a reasonable possibility that the jury relied on

       the same evidence to prove attempted murder and aggravated battery, although

       attempted murder required proof of an essential element of attempted murder—

       specific intent to kill—that aggravated battery did not); Gross, 769 N.E.2d

       at 1139-40 (finding double jeopardy violation where there was a reasonable

       possibility that the same evidence used to prove the essential elements of

       murder also proved most of the elements of Class A felony robbery.14

[71]   Hines is particularly noteworthy because it was written by Indiana Supreme

       Court Chief Justice Brent Dickson—the same Justice who authored the

       majority opinions in Richardson and Spivey. In Hines, the Court employed an




       14
          During this post-Spivey, pre-Wadle period, this Court also declined to view Spivey as altering the Richardson
       actual-evidence test. In Troutner v. State, 951 N.E.2d 603, 610 (Ind. Ct. App. 2011), trans. denied, a panel of
       this Court rejected the State’s claim that, in light of Spivey, a “complete evidentiary overlap” between the
       robbery and misdemeanor battery offenses was required before those dual convictions would satisfy the
       Richardson actual-evidence test. The Troutner Court reasoned that this “argument is wholly negated by our
       supreme court’s analysis in Richardson, where the court held that the battery conviction was duplicative of the
       defendant’s robbery conviction.” Id. The Court concluded that “[i]n the language of Spivey, here the
       evidentiary facts presented by the State to establish the essential elements of Troutner’s robbery also
       established all of the essential elements of his battery,” despite the lack of full evidentiary overlap in the
       offenses. Id. Thus, at least to this panel of the Court of Appeals, the actual-evidence tests in Spivey and
       Richardson are identical. Id.
       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024                              Page 34 of 47
       actual-evidence test more reminiscent of Richardson than Wadle’s interpretation

       of Spivey. Hines, 30 N.E.3d at 1221-25. According to the Hines Court, a double

       jeopardy violation under the actual-evidence test requires “a reasonable

       possibility that the evidentiary facts used by the factfinder to establish the

       essential elements of an offense for which the defendant was convicted or

       acquitted may also have been used to establish all the essential elements of a

       second challenged offense.” Id. at 1222.


[72]   Although Hines alluded to Spivey, Hines never stated that the actual-evidence test

       required the same proof of all the elements of both offenses. Moreover, Hines’s

       finding of a double jeopardy violation arising from criminal confinement and

       battery convictions is inconsistent with Spivey if Spivey requires full evidentiary

       overlap. The Hines Court found a double jeopardy violation where the jury

       could have relied on the same evidence proving the defendant’s touching of the

       officer in a rude, insolent manner—an element of Class D felony battery—also

       proved the “confined” element of Class C felony criminal confinement. Hines,

       30 N.E.3d at 1222. Thus, the Hines Court did not require the same evidence to

       prove all the elements of confinement and all the elements of battery. After all,

       evidence that the victim was a penal facility employee engaged in her official

       duty—an essential element of the battery—did not prove any of the essential

       elements of criminal confinement. Ind. Code § 35-42-3-3(b)(1)(C) (2012); Ind.

       Code § 35-42-2-1(a)(2)(H) (2012).

[73]   In several other post-Spivey decisions, our Supreme Court concluded that no

       Article 1, Section 14 violation occurred because the evidence of one essential
       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024       Page 35 of 47
       element of one crime was different from the evidence of an essential element of

       a second crime. Lee v. State, 892 N.E.2d 1231, 1236-1237 (Ind. 2008) (ruling that

       jury likely used the barging into the home to establish the burglary and the

       evidence of the defendant’s threats and demands to convict of attempted armed

       robbery); Carrico v. State, 775 N.E.2d 312, 314 (Ind. 2002) (finding convictions

       for murder and Class B felony robbery did not violate double jeopardy because

       the shared evidence was only as to one element of each crime); Williams v. State,

       771 N.E.2d 70, 75-76 (Ind. 2002) (finding convictions for Class A felony

       burglary and Class C felony intimidation did not violate double jeopardy

       because each required evidence of essential elements that the other did not);

       Guyton v. State, 771 N.E.2d 1141, 1143 (Ind. 2002) (finding no double jeopardy

       violation arising from convictions for murder by gunshot and carrying a

       handgun without a license because carrying a gun and using it were different

       acts, presumably proved by different evidence); Henderson, 769 N.E.2d 172, 178

       (Ind. 2002) (finding “the offenses of felony-murder and Class A felony

       conspiracy [to commit robbery] were each established by the proof of a fact not

       used to establish the other offense”); Bald, 766 N.E.2d at 1172 (concluding

       “each conviction [Class A felony arson and three felony murders] required

       proof of at least one unique evidentiary fact”).

[74]   In addition, none of our Supreme Court’s 18 cases citing Spivey that found a

       double jeopardy violation did so based on an explicit finding that there was a

       reasonable possibility that the same evidence was used to prove all the essential

       elements of both offenses. See, e.g., Garrett v. State, 992 N.E.2d 710, 722 (Ind.

       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024      Page 36 of 47
       2013) (double jeopardy violation arose because evidence of first rape was

       introduced into evidence of second rape, leaving possibility that jury relied on

       the evidence of one crime in finding the defendant guilty of another).


       B. Expansion of the Actual-Evidence Test to Acquittals
[75]   In the midst of this confusion over Spivey’s impact, our Supreme Court

       expanded Richardson’s actual-evidence test to acquittals. Garrett, 992 N.E.2d

       at 722-23. In Garrett, the defendant was tried for two alleged rapes of the same

       victim on the same day, and the jury acquitted him of the first rape charge but

       deadlocked on the second. Id. at 716. The defendant was tried again for the

       second rape—this time in a bench trial—but the evidence largely consisted of

       the evidence of the first rape for which he had been acquitted. Id. at 716-17. The

       Court found “a reasonable possibility that the evidentiary facts used by the jury

       in the first trial to establish the essential elements of Rape, for which Garrett

       was acquitted, may also have been used on retrial to establish all of the essential

       elements of Rape for which Garrett was convicted.” Id. at 723.


[76]   Our Supreme Court has applied the actual-evidence test in only one procedural

       double jeopardy case since Garrett: Cleary v. State, 23 N.E.3d 664 (Ind. 2015).

       Cleary was tried on five counts and three infractions, all arising from a single

       drunk driving incident that killed one person. The jury returned verdicts of

       guilty on two of the misdemeanor counts of operating a motor vehicle while

       intoxicated (OMVI) and also found that Cleary had committed the infractions.

       The jury deadlocked, however, on the three remaining counts: two felony and


       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024      Page 37 of 47
       one misdemeanor OMVI counts. The trial court refused to enter judgment on

       the guilty verdicts and ultimately ordered a retrial on all eight counts.

[77]   On appeal, Cleary claimed his second trial violated Article 1, Section 14. But

       the Court found Article 1, Section 14 protections were never triggered because

       Cleary was neither convicted nor acquitted of any crime before his retrial on all

       the counts. Id. at 674-75; see Ind. Code § 35-41-4-3 (barring successive

       prosecutions for the same offense only after acquittal or conviction). Cleary

       therefore offers little guidance here in applying Garrett’s modified actual-

       evidence test in procedural double jeopardy cases.


       II. Utilizing the Actual-Evidence Test to Resolve Schoeff’s
           Double Jeopardy Claim
[78]   What I glean from this review of the law is that the complete evidentiary

       overlap seemingly derived from Spivey has never been put into practice by our

       Supreme Court when applying Richardson’s actual-evidence test. Although

       Wadle suggested vagaries in the test when applied in a substantive double

       jeopardy context, I believe Richardson’s actual-evidence test works in Schoeff’s

       procedural double jeopardy case. The test offers an intuitive, fact-sensitive

       approach to determining whether the State is improperly taking two bites of the

       same apple by prosecuting a defendant again based on evidence of the same

       criminal act for which the defendant already was convicted or acquitted.

[79]   Guided by Richardson and Garrett, and helped by our statutory prohibition

       against successive prosecutions (Indiana Code § 35-41-4-3), I would find that


       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024        Page 38 of 47
       the evidence from Schoeff’s first trial reveals the State used the same evidence

       to encourage the jury to convict him of both Conspiracy to Deal and Accessory

       Dealing Resulting in Death. Once Schoeff was convicted of Conspiracy to

       Deal, the State could not prosecute him for Accessory Dealing Resulting in

       Death.


       A. Applying Richardson as Intended
[80]   The evidentiary overlap required by Richardson’s actual-evidence test is reflected

       in the chart below. In fact, the chart shows that the State used the same

       evidence to prove all the essential elements of Conspiracy to Deal and most, but

       not all, of the essential elements of Accessory Dealing Resulting in Death:


         Essential Elements of               Essential Elements of            Shared Evidence Used to
         Conspiracy to Deal                  Accessory Dealing                Prove these Essential
                                             Resulting in Death               Elements

         Intent to commit dealing in a       Intent to commit dealing in      Evidence that Schoeff and
         narcotic                            a controlled substance           Morgan had an ongoing
                                                                              drug selling partnership
                                                                              and agreed to and did sell
                                                                              heroin (which contained
                                                                              fentanyl) to Hart

         Agreement between Schoeff           Aided, induced, or caused        Evidence that: Schoeff
         and Morgan to commit                Morgan to deliver                and Morgan partnered in
         dealing in a narcotic               controlled substance             the sale of narcotics and
                                                                              other controlled
         and                                                                  substances and divided
         Overt acts in furtherance of                                         responsibilities to avoid
         the agreement including: (1)                                         detection; Vera obtained
         obtaining a substance                                                the illegal drugs they sold
         purported to be heroin or                                            from sources in Dayton,
         fentanyl; (2) communicating                                          Ohio; both Schoeff and
         with Hart; (3) arranging sale                                        Morgan used Morgan’s
         of heroin and/or fentanyl; (4)                                       phone through which the
         providing heroin and/or                                              drug purchases were
         fentanyl to Hart.                                                    accomplished; Morgan
                                                                              agreed through text

       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024                     Page 39 of 47
                                                                              messages to sell heroin to
                                                                              Hart at a specific gas
                                                                              station; Schoeff drove
                                                                              Morgan to the gas station
                                                                              at which Morgan
                                                                              provided the drugs to Hart
                                                                              and took her payment;
                                                                              and Schoeff and Morgan
                                                                              then drove Hart and her
                                                                              boyfriend to her
                                                                              boyfriend’s home

         [No comparable element]             Use, injection, inhaling, or     Evidence that Hart
                                             absorption of fentanyl/          injected the drugs that
                                             heroin resulting in Hart’s       Schoeff and Morgan sold
                                             death                            her earlier that night




       Given that the evidence used to prove all the essential elements of Conspiracy

       to Deal also was used to prove most of the essential elements of Accessory

       Dealing Resulting in Death, the State could not—and did not—prove each of

       these offenses “by separate and distinct facts.” Richardson, 717 N.E.2d at 53.

       Said differently, the evidence used to prove Schoeff guilty of Accessory Dealing

       Resulting in Death necessarily also proved him guilty of Conspiracy to Deal.

       Therefore, for purposes of Article 1, Section 14, Conspiracy to Deal and

       Accessory Dealing Resulting in Death are the “same offense.” Schoeff could

       not be convicted of both under Article 1, Section 14.


       B. Successive Prosecution Statute Implications

[81]   Aligning with the principles of double jeopardy articulated in Article 1, Section

       14, the Successive Prosecution Statute specifies:

               A prosecution is barred if there was a former prosecution of the
               defendant based on the same facts and for commission of the same

       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024                    Page 40 of 47
                offense and if . . . the former prosecution resulted in an acquittal or
                a conviction of the defendant (A conviction of an included offense
                constitutes an acquittal of the greater offense, even if the conviction is
                subsequently set aside.)[.]


       Ind. Code § 35-41-4-3(a)(1) (emphases added).

[82]   The “statutory bar” in the Successive Prosecution Statute “rests on the

       longstanding common-law recognition that a ‘lesser included’ offense is the

       ‘same’ as its greater (encompassing) offense.” Wadle, 151 N.E.3d at 240. But a

       not guilty verdict is not a prerequisite to an “acquittal” under the Successive

       Prosecution Statute.

[83]   Instead, an acquittal of a greater offense may be implied when the first trial

       results in judgment of conviction for an included offense. Ind. Code § 35-41-4-

       3(a)(1); see Cleary, 23 N.E.3d at 669 (referring to subsection (a) of the Successive

       Prosecution Statute as an “implied acquittal provision”). When an implied

       acquittal of the greater offense occurs, the defendant may not later be tried on

       the greater offense. Hoover v. State, 918 N.E.2d 724, 734-36 (Ind. Ct. App.

       2009).

[84]   The statutory double jeopardy protections found in the Successive Prosecution

       Statute thus overlap with the constitutional double jeopardy protections in

       Article 1, Section 14. Both authorities bar a second prosecution based on the

       same facts for the same offense that was previously prosecuted to acquittal,

       implied acquittal, or conviction in an earlier proceeding. Garrett, 992 N.E.2d

       at 722-23; Ind. Code § 35-41-4-3(a)(1). Article 1, Section 14 prevented Schoeff’s


       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024           Page 41 of 47
       conviction for Accessory Dealing Resulting in Death after his conviction for

       Conspiracy to Deal because the two crimes were the “same offense” under

       these circumstances. The Successive Prosecution Statute, in turn, barred

       Schoeff’s second trial for Accessory Dealing Resulting in Death because Schoeff

       was impliedly acquitted of that offense during the first trial, given that

       Conspiracy to Deal and Accessory Dealing Resulting in Death were prosecuted

       “based on the same facts” and were therefore “the same offense.” Ind. Code

       § 35-41-4-3(a)(1).

[85]   For instance, when a jury finds a defendant guilty of a lesser included offense

       but is hung on the greater offense, Article 1, Section 14 bars retrial on the

       greater offense after the trial court enters judgment of conviction on the lesser

       included offense. Hoover, 918 N.E.2d at 734-36. In other words, Article 1,

       Section 14 treats a greater offense and lesser offense as the “same offense” and

       prohibits a second trial after conviction or acquittal on one of the two “same

       offense[s].” 15




       15
          A new trial on a count on which the jury hung in the first trial, standing alone, does not implicate double
       jeopardy. See, e.g., Haddix v. State, 827 N.E.2d 1160, 1167 (Ind. Ct. App. 2005) (ruling that because the trial
       court declined to enter judgment on the guilty verdicts after the first trial, retrial on both the greater and lesser
       offenses did not fall within the “literal purview” of the Successive Prosecution Statute). In Schoeff’s case,
       however, the trial court entered judgment of conviction on the first jury’s guilty verdict for Conspiracy to
       Deal before Schoeff was retried on the Accessory Dealing Resulting in Death count on which the first jury
       was hung.
       Once the trial court convicted Schoeff of the lesser offense of Conspiracy to Deal, Schoeff was impliedly
       acquitted of the same, greater offense of Accessory Dealing Resulting in Death under the Successive
       Prosecution Statute, and he also could not be retried. See Hoover v. State, 918 N.E.2d 724, 736 (Ind. Ct. App.
       2009) (finding that the defendant’s conviction on the lesser-included robbery offense constituted his implied


       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024                                  Page 42 of 47
[86]   Similarly, the Successive Prosecution Statute “provides that a conviction for a

       lesser-included offense absolutely bars any subsequent prosecution for the

       greater charged offense, because such a conviction is deemed an acquittal of the

       greater offense.” Id. at 736 (quoting Haddix v. State, 827 N.E.2d 1160, 1167 (Ind.

       Ct. App. 2005)); Ind. Code § 35-41-4-3(a)(1) (“A conviction of an included

       offense constitutes an acquittal of the greater offense, even if the conviction is

       subsequently set aside.”).

[87]   Given this landscape, a finding under the Richardson actual-evidence test that

       Conspiracy to Deal and Accessory Dealing Resulting in Death are the “same

       offense” for purposes of Article 1, Section 14 seemingly demands the

       conclusion Schoeff seeks: once he was convicted of Conspiracy to Deal, the

       Successive Prosecution Statute barred his prosecution in the second trial for

       Accessory Dealing Resulting in Death. See Hoover, 918 N.E.2d at 734-36. 16




       acquittal under the Successive Prosecution Statute on the greater felony-murder charge on which the jury
       hung and precluded his retrial on the greater charge).
       16
          This result is consistent with our Supreme Court’s view that “[j]eopardy is the risk of trial and conviction,
       not punishment.” Garrett v. State, 992 N.E.2d 710, 721 (Ind. Ct. App. 2013). In fact, the idea “that ‘jeopardy’
       is ‘risk’ is the very core of double jeopardy jurisprudence.” Id. (quoting Bryant v. State, 660 N.E.2d 290, 299
       (Ind. 1995)). Thus, “double jeopardy protection prohibits twice subjecting an accused to the risk that he will
       be convicted of a single crime.” Id. (emphasis added). Accordingly, a violation under Article 1, Section 14
       has been found when “a defendant demonstrates ‘that he might have been acquitted or convicted on the
       former trial’ of the same crime for which he was convicted at the second trial.” Id. (quoting Brinkman v. State,
       57 Ind. 76, 79 (1877)).



       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024                               Page 43 of 47
       III. Misapplication of the Actual-Evidence Test

[88]   The actual-evidence test focuses on the evidence used to convict rather than a

       strict comparison of only the elements of the offenses. See Richardson, 717

       N.E.2d at 53. Thus, the actual-evidence test may reveal a double jeopardy

       violation even if the offenses do not have identical elements. Id. (“Even if the ...

       statutory elements test[] does not disclose a double jeopardy violation, the

       actual evidence test may.”); see, e.g., Guffey v. State, 717 N.E.2d 103, 105-07

       (Ind. 1999) (finding convictions for aiding in the commission of armed robbery

       and conspiracy to commit armed robbery violated Article 1, Section 14 under

       the actual-evidence test, although the differing elements of the two offenses

       meant the statutory-elements test was not met).

[89]   My colleagues focus almost exclusively on the statutory elements of Schoeff’s

       charged offenses, rather than the evidence introduced to prove those elements—

       as the Richardson actual-evidence test requires. To convict Schoeff of Accessory

       Dealing Resulting in Death, the State had to prove that: (1) Schoeff knowingly

       aided, induced, or caused Vera Morgan to knowingly deliver a controlled

       substance; and (2) the delivered controlled substance was used, injected,

       inhaled, absorbed, or ingested resulting in Mandy Hart’s death. App. Vol. II, p.

       37; Ind. Code § 35-48-4-1 (dealing in a narcotic drug statute); Ind. Code § 35-42-

       1-1.5(a) (dealing resulting in death statute); Ind. Code § 35-41-2-4 (accessory

       liability statute).




       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024      Page 44 of 47
[90]   The State could convict Schoeff of Conspiracy to Deal, on the other hand, only

       if it proved that Schoeff, with intent to deal in a controlled substance, agreed

       with Morgan to deal in a controlled substance and that either Schoeff or

       Morgan performed an overt act in furtherance of that agreement. App. Vol. II,

       p. 63; Ind. Code § 35-48-4-1(a); Ind. Code § 35-41-5-2. As charged, the overt act

       element required proof that either Schoeff or Morgan: “(1) obtained a substance

       purported to be heroin or fentanyl; (2) communicated with Mandy Hart; (3)

       arranged sale of heroin and/or fentanyl; (4) provided heroin and/or fentanyl to

       Mandy Hart.” App. Vol. II, p. 63.


[91]   The lead opinion appears to assume that, because the statutory elements of

       Conspiracy to Deal and Accessory Dealing Resulting in Death are different, the

       evidence introduced to prove them necessarily is different. Taking this analysis

       to its logical extreme, a double jeopardy violation would occur only if the

       elements of the two offenses were identical. Only then would the evidence

       introduced to prove the elements of one offense be identical to the evidence

       used to prove all or some elements of the other offense.

[92]   In this sense, the lead opinion reads more like an application of the Richardson

       statutory-elements test than a Richardson actual-evidence analysis. Under the

       statutory-elements test, two offenses are the “same offense” for purposes of

       Article 1, Section 14 if the statutory elements of one offense also necessarily

       establish the essential elements of the other offense. Richardson, 717 N.E.2d

       at 49-52. But our Supreme Court has expressly “exclude[ed] the statutory-



       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024     Page 45 of 47
       elements test from claims of procedural double jeopardy.” Wadle, 151 N.E.3d

       at 244 n.15 (citing Garrett, 992 N.E.2d at 721).


[93]   The concurring opinion similarly rests on a foundation other than the actual-

       evidence test by applying an “included offense” analysis to determine whether a

       procedural double jeopardy violation exists. Slip Op., ¶¶ 37-40 (relying on

       Indiana Code § 35-31.5-2-168 (Included Offense Statute)). Under the Included

       Offense Statute, an “[i]ncluded offense” is an offense that:

               (1) is established by proof of the same material elements or less
               than all the material elements required to establish the
               commission of the offense charged;

               (2) consists of an attempt to commit the offense charged or an
               offense otherwise included therein; or

               (3) differs from the offense charged only in the respect that a less
               serious harm or risk of harm to the same person, property, or
               public interest, or a lesser kind of culpability, is required to
               establish its commission.


       Ind. Code § § 35-31.5-2-168.


[94]   The Included Offense Statute, like the Richardson statutory-elements test,

       focuses on the statutory definition of the crimes in determining whether a

       double jeopardy violation has occurred. Applying the Included Offense Statute

       is also the first step in substantive double jeopardy analysis under Wadle. 151

       N.E.3d at 248-49. The concurring opinion, by relying on substantive double

       jeopardy analysis in a procedural double jeopardy case, blurs the line between

       the two branches.
       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024        Page 46 of 47
[95]   For these reasons, I would find that both Article 1, Section 14 and the

       Successive Prosecution Statute barred Schoeff’s second trial and resulting

       conviction for Accessory Dealing Resulting in Death, given his earlier

       conviction for Conspiracy to Deal based on the same evidence. I would also

       find that Schoeff was impliedly acquitted of Accessory Dealing Resulting in

       Death when he was convicted of Conspiracy to Deal. Accordingly, I would

       reverse Schoeff’s conviction for Accessory Dealing Resulting in Death and

       order reinstatement of Schoeff’s conviction and sentence for Conspiracy to

       Deal.17




       17
          I concur with my colleagues’ determination that Schoeff waived his Fifth Amendment double jeopardy
       claim.

       Court of Appeals of Indiana | Opinion 23A-CR-02163 | August 26, 2024                        Page 47 of 47
